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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                     SOUTHERN DIVISION
____________________________________
                                           )
IRANIAN ALLIANCES ACROSS                   )
BORDERS, et al.,                           )
                                           )
        Plaintiffs,                        )
                                           )
        v.                                 )         No. 8:17-cv-02921-TDC
                                           )
DONALD J. TRUMP, in his official           )
capacity as President of the United        )
States, et al.,                            )
                                           )
        Defendants.                        )
____________________________________)
                                           )
EBLAL ZAKZOK, et al.,                      )
                                           )
        Plaintiffs,                        )
                                           )
        v.                                 )         No. 1:17-cv-02969-TDC
                                           )
DONALD TRUMP, in his official capacity )
as President of the United States, et al., )
                                           )
        Defendants.                        )
____________________________________)

  DEFENDANTS’ MOTION TO STAY PROCEEDINGS PENDING RESOLUTION OF
                PRELIMINARY-INJUNCTION APPEALS

       Defendants hereby move for a stay of all district court proceedings in the above-captioned

matters, pending final resolution of the preliminary-injunction appeals before the United States

Court of Appeals for the Fourth Circuit and/or the Supreme Court. This motion is supported by

the accompanying memorandum of law. A proposed order is also attached.


Dated: January 19, 2018                     Respectfully submitted,

                                            CHAD A. READLER
                                            Acting Assistant Attorney General
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on January 19, 2018, a copy of the foregoing document and its

attachments was served on counsel for plaintiffs in the above-captioned matters via CM/ECF,

and was served on counsel for plaintiffs in International Refugee Assistance Project v. Trump,

No. 17-cv-361-TDC (D. Md.), via e-mail.


                                                           /s/ Daniel Schwei
                                                           Daniel Schwei
                                                           Bar No. 96100
